Case 1:16-cv-00347-JMS-RLP Document 226 Filed 01/09/18 Page 1 of 17   PageID #:
                                    1869
Case 1:16-cv-00347-JMS-RLP Document 226 Filed 01/09/18 Page 2 of 17   PageID #:
                                    1870
Case 1:16-cv-00347-JMS-RLP Document 226 Filed 01/09/18 Page 3 of 17   PageID #:
                                    1871
Case 1:16-cv-00347-JMS-RLP Document 226 Filed 01/09/18 Page 4 of 17   PageID #:
                                    1872
Case 1:16-cv-00347-JMS-RLP Document 226 Filed 01/09/18 Page 5 of 17   PageID #:
                                    1873
Case 1:16-cv-00347-JMS-RLP Document 226 Filed 01/09/18 Page 6 of 17   PageID #:
                                    1874
Case 1:16-cv-00347-JMS-RLP Document 226 Filed 01/09/18 Page 7 of 17   PageID #:
                                    1875
Case 1:16-cv-00347-JMS-RLP Document 226 Filed 01/09/18 Page 8 of 17   PageID #:
                                    1876
Case 1:16-cv-00347-JMS-RLP Document 226 Filed 01/09/18 Page 9 of 17   PageID #:
                                    1877
Case 1:16-cv-00347-JMS-RLP Document 226 Filed 01/09/18 Page 10 of 17   PageID #:
                                    1878
Case 1:16-cv-00347-JMS-RLP Document 226 Filed 01/09/18 Page 11 of 17   PageID #:
                                    1879
Case 1:16-cv-00347-JMS-RLP Document 226 Filed 01/09/18 Page 12 of 17   PageID #:
                                    1880
Case 1:16-cv-00347-JMS-RLP Document 226 Filed 01/09/18 Page 13 of 17   PageID #:
                                    1881
Case 1:16-cv-00347-JMS-RLP Document 226 Filed 01/09/18 Page 14 of 17   PageID #:
                                    1882
Case 1:16-cv-00347-JMS-RLP Document 226 Filed 01/09/18 Page 15 of 17   PageID #:
                                    1883
Case 1:16-cv-00347-JMS-RLP Document 226 Filed 01/09/18 Page 16 of 17   PageID #:
                                    1884
Case 1:16-cv-00347-JMS-RLP Document 226 Filed 01/09/18 Page 17 of 17   PageID #:
                                    1885
